                                                                   FORM 1
                                                                                                                                          Page No:      1
                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                ASSET CASES

Case No.:                    18-41117                                                           Trustee Name:                          GENE R. KOHUT, TRUSTEE
Case Name:                   MOCCIA, DARRELL AND MOCCIA, DARLENE                                Date Filed (f) or Converted (c):       01/30/2018 (f)
For the Period Ending:       09/30/2018                                                         §341(a) Meeting Date:                  03/08/2018
                                                                                                Claims Bar Date:                       09/04/2018
                         1                           2                    3                               4                        5                        6
                 Asset Description               Petition/             Estimated Net Value            Property                Sales/Funds            Asset Fully
                  (Scheduled and               Unscheduled            (Value Determined by            Abandoned               Received by           Administered
             Unscheduled (u) Property)            Value                      Trustee,           OA =§ 554(a) abandon.          the Estate               (FA)/
                                                                     Less Liens, Exemptions,                                                        Gross Value of
                                                                        and Other Costs)                                                             Remaining

 Ref. #
1       SINGLE-FAMILY HOME 1700                     $260,000.00                         $0.00                                           $0.00                   FA
        WAVERLY 48183-000 -
        TRENTON MI 0 WAYNE
        COUNTY
2       2002 CADILLAC DEVILLE                            $1,000.00                      $0.00                                           $0.00                   FA
       58000 MILES
3      2007 MERCURY MILAN                                 $500.00                       $0.00                                           $0.00                   FA
       CO-SIGNED WITH SON.
4      LAMPS, BEDS, WASHER,                              $4,000.00                      $0.00                                           $0.00                   FA
       DRYER, KITCHEN
       APPLIANCES. STANDARD
       HOUSEHOLD GOODS AND
       FURNISHINGS, TV, STEREO
5      MISC. CLOTHING NOTHING                            $2,000.00                      $0.00                                           $0.00                   FA
       VALUED OVER $50.00.
6      COSTUME JEWELERY,                                 $1,500.00                      $0.00                                           $0.00                   FA
       WATCH, NECKLACE, RINGS.
7      TWO DOGS                                              $2.00                      $0.00                                           $0.00                   FA
8      CHECKING AND SAVINGS                               $900.00                       $0.00                                           $0.00                   FA
       CITIZENS BANK - CHECKING
       - DARLENE MOCCIA
       OPENED OCTOBER 2017 -
       BALANCE $300.00
       DOWNRIVER COMMUNITY
       CREDIT UNION - CHECKING
       AND SAVINGS - JOINT
       ACCOUNT - BALANCE
       $100.00 PNC BANK - JOINT
       WITH BROTHER AND
       DARRELL MOCCIA -
       BALANCE $500.00
9      MACCLAREN                                         $1,000.00                      $0.00                                           $0.00                   FA
       TRANSPORTATION 100 %
10     LADY BIRD DEED IN 2140                            Unknown                        $0.00                                           $0.00                   FA
       SHERATON, TRENTON, MI
       48183
11     TAX REFUNDS FEDERAL,                              $3,400.00                      $0.00                                           $0.00                   FA
       STATE AND LOCAL
12     TERM LIFE AAA ;                                       $0.00                      $0.00                                           $0.00                   FA
       BENEFICIARY: DARLENE
       MOCCIA
13     TERM POLICY AAA ;                                     $0.00                      $0.00                                           $0.00                   FA
       BENEFICIARY: DARRELL
       MOCCIA
14     HEATH SERVICE ACCOUNT                              $600.00                       $0.00                                           $0.00                   FA

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                                                                                         SUBTOTALS                    $0.00                     $0.00
                                                                               FORM 1
                                                                                                                                                         Page No:     2
                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                            ASSET CASES

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                                                                                  Less Liens, Exemptions,                                                          Gross Value of
                                                                                     and Other Costs)                                                               Remaining

15         CLAIM AGAINST                            (u)               Unknown                     Unknown                                              $0.00              Unknown
           MACCLAREN
           TRANSPORTATION AND
       PRODUCE SERVICES, INC.
Asset Notes: Adversary case 18-04487


TOTALS (Excluding unknown value)                                                                                                               Gross Value of Remaining Assets
                                                                $274,902.00                          $0.00                                            $0.00                   $0.00



 Major Activities affecting case closing:
     Adversary case 18-04487. (11 (Recovery of money/property - 542 turnover of property)), (13 (Recovery of money/property - 548 fraudulent transfer)):
     Complaint by Gene R. Kohut against MacClaren Transportation and Produce Services, Inc.. Receipt Number DEFERRED, Fee Amount of $ 350 is Deferred.
     (Majoros, Elias)
     Order Further Extending Deadline for Trustee to Object to Debtors' Discharge (Related Doc [34]). Last day to oppose objection or revocation of
     dischargeability of debts is 8/20/2018.
     Order Granting Stipulation Extending 727 Discharge Deadline (Related Doc [30]). Last day to oppose objection or revocation of dischargeability of debts is
     7/22/18 (RE: related document(s)[28] Order Extending Deadline For Trustee To Object To Debtors' Discharge (Related Doc [27]). Last day to oppose
     objection or revocation of debts is 6/8/2018. (lcl)). (J.A.J.)
     REVIEWING BUSINESS AND PREFERENTIAL TRANSFER(s)
     Order Extending Deadline For Trustee To Object To Debtors' Discharge (Related Doc [27]). Last day to oppose objection or revocation of debts is 6/8/2018.
     Order Concerning Debtors' Claims of Exemption


 Initial Projected Date Of Final Report (TFR):                05/31/2020                               /s/ GENE R. KOHUT, TRUSTEE
 Current Projected Date Of Final Report (TFR):                05/31/2020                               GENE R. KOHUT, TRUSTEE




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